Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 1 of 50

Fill in this information to identify your case:

Debtor 4 Shirley S. Grimmett
First Name. Middle Nama Last Name

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50634 LY Check if this is an
iif known} amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

| Part 1: | Summarize Your Assets

 

 

 

 

Your assets

Value: of what you own

. 1. Schedule A/B: Property (Official Form 106A/B) ,

: : 3 525,000.00
ja. Copy line 55, Total real estate, from Schedule A/B. 0... ceccecccecececcecene te teeee eenensnenene enn nnnenenanices coeseegenenenererererecnsenecneananes ——e—ee
1b. Copy line 62, Total personal property, from Schedtsle AM... cece ee sceeee ce eeeeeesenennensessceseetsnaesnensansnesseceeecaenaasntans $3,684.26

4c. Copy line 63, Total of all property on Schedule A/B..... vectvsucasusavsussestsasatenessavsvansaesaestsnsetsessniereaciiseaseimanessaseseseenessotaunant $0.00

EEE summarize Your Liabilities

 

 
   

Amount you owe:
| 2. Sehedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $578,575.88
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 34,000.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F sence ee
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EF... eee cect fen + $54,501.89
Your total liabilities $ 667,077.77
ERE summarize Your Income and Expenses
| 4. Schedule I: Your income (Official Form 1061) 8,145.64 :
' Copy your combined monthly income from line 12 Of Schedule fo... cceeeccsseetsteterere ees eseenneanesnesceaseenennnaneeseneeseeeeeasetas ear |
| 5. Schedule J: Your Expenses (Official Form 106J} |
Copy your monthly expenses from line 22, Column A, of Schedtle J........csseceeec cette reenerssneanenneereaeecrenerceeriimeaesensas $8,58253 00

 

Official Form 106Sum _ Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 2 of 50

Debtor 1 Shirley S. Grimmett Case number ti inown)19-50634
First Nama Middle Name Last Name :

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you fillng for bankruptcy under Chapters 7, 11, or 137

() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

fd Yes

 

| 7. What kind of debt do you have?

4) Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

(1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Chack this box and submit
_ this form to the court with your other schedules.

 

 

a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

 

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. - ¢ 6,509.00

 

 

| 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

 

om Part 4 on Sch

       

9a. Domestic support obligations (Copy line 6a.)

 

30.06

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) 50.00

9c, Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0.00

$d. Student loans. (Copy line 6f.)

30.00
§e. Obligations arising out of a separation agreement or divorce that you did not repori.as

priority claims. (Copy line 6g.) 30.00

Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $0.00

9g. Total. Add lines 9a through $f. 30.00

 

 

 

Official Form 1066Sum Summary of Your Assets and Liabllities and Certain Statistical Information page 2 of 2
Case 19-50634 Doc13_ Filed 05/30/19

Entered 05/30/19 16:06:49 Page 3 of 50

Fill in this information to identify your case and this filing:

Debtor 1 Shirley Ss

First Name Middle Name

Dabtor 2

Grimmett
Last Name

 

{Spouse, if filing) First Name Middle Name

Last Name

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50634

 

 

LJ Check if this is an

 

Official Form 106A/B

 

amended filing

Schedule A/B: Property | 12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for suppiying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Ea Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

L] No. Go to Part 2.
XI Yes. Where is the property?

41. 38 Hedge Brook Lane

Street address, if available, or other description

 

 

 

Stamford CT 06903
City State ZIP Gode
County

If you own or have more than one, list here:

1.2.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

 

Official Form 106A/B

1. Do you own or have any legal or equitable interest in any residence, building, jand, or similar property?

What is the property? Check all that apply.
@ Single-farnily home

(2 Duptex or multi-unit building

LY Condominium or cooperative

 

Current value of the Current value of the

 

Q] Manufactured or mobile home entire property? . —s portion you own?
QD) Land $525,000.00 $525,000.00

C) investment property

Q Timeshare Describe the nature of your ownership
O other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

C) Debtor 1 only

C) Debter 2 only

[.] Debtor 1 and Debtor 2 only

() At least one of the debtors and another

Other information you wish to add about this Item, such as Jocal
property identification number:

 

LJ Check if this Is community property
(see instructions}

 

What is the property? Check all that apply.
Q Single-family home

Q Duplex or multi-unit building

LU) Condominium or cooperative

‘the amount of. any secure
Creditors Who Have Cah

Current value of the Current value of the

 

 

 

 

LY Manufactured or mobile home entire property? portion you own?
CJ: Land $ $
CJ investment property b be th h
. escribe the nature of your ownership
5 one interest (such as fee simple, tenancy by
er

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. .
CD Debtor 1 only

LD Debtor 2 only

(1) Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

 

CL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 1

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 4 of 50

Debtor 1 Shirley Ss. Grimmett Case number (#snown) 19-50634
First Nama Middle Name - Last Name

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

What is the property? Check all that apply. De not-deduct sec or exemptions. Put
mele fern the amount of anj ims'on Schedule D:
13, CU Single-family home Creditors Who Ha acurad by Property
Street address, if available, or other description im Duplex or multi-unit building oe alae ana soe rectal ct
(2 Condominium or cooperative Current value ofthe Current value of the
(J Manufactured or mobile home entire property? Portion you own?
LI] Land $ $
CJ investment property ;
City Slate Zp code OO Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
C) other the entireties, or a life estate), if known.
Who bas an interest in the property? Check one.
L Debtor 1 only
County L) Debtor 2 only
OC Debtor 1 and Debtor 2 only C1 Check if this is community property
(CJ At least one of the debtors and another (see instructions)
Other Information you wish to add about this item, such as local
property identification number:
| 2. Add the dollar value cf the portion you own for all of your entries from Part 1, including any entries for pages $525,000.00
you have attached for Part 1. Write that number here. .........---------:-:ceceeeeeeeneeneneereneneereere enn sessesesersseaanarenmananans >

   

 

 

 

Ee Describe Your Vehicles

| De you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G; Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    

 

 

 

No
OQ] Yes
3.1. Make: Who has an interest In the property? Check one.
Model: QI Debtor 1 only Have. Claime Seéured by Property,
O Debtor 2 only iota . en Soca x
Year: O bebter 4 and Debtor 2 only Current value of fhe Current value of the
ji : . entire props ortlon you own?
Approximate mileage: (J At least one of the debtors and another property? p y
Other information:
() Check if this is community property (see $ / $
instructions}

 

 

 

’

If you own or have more than one, describe here:

 

 

 

 

 

32. Make: Who has an interest in the property? Check one. securdd claims or exempticns. Put
gO Debtor 1 onl I any sécured claims.on Schedule B:
Model: ebtor 7 only Creditors’ lava. Clatins Secured by Property.
Year: L) Debtor 2 only c ” + ak te ' ne is C sat 1 tthe ‘
‘ TTT C) Debtor 1 and Debtor 2 only . urrent vaiue of the urrent value of the
. . . entire prope ortion you own?
Approximate mileage: C) Atleast one of the debtors and anather property? P ¥
Other information:
[Cheek if this is community property (see $ $
instructions)

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 2
 

Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49

 

Page 5 of 50

Case number (mown; 9-50634

 

Debtor 1 Shirley 8. Grimmett
First Nama Middle Name Last Name
3.3, Make: Whe has an interest in the property? Check one.
Model: C) Debtor 4 only
CL) Debtor 2 only
Year: ’

Approximate mileage:

Other information:

() Debtor 4 and Debtor 2 only
(C1 At teast one of the debtors and another

 

 

C) Cheek if this is community property (see
instructions)

 

 

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one.

(] Debtor 1 only

(2) Debtor 2 only

L) Debtor 1 and Debtor 2 only

(L) At taast one of the debtors and another

 

 

C1) Check If this is community property (see
instructions)

 

 

 

portion you own?

entire property?

  

Current value of the Current value of the
portion you own?

entire property?

_ 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercrait, fishing vessels, snowmobiles, motorcycle accessories

No
Cl Yes

41.. Make:
Model:
Year.

Other information:

“Who has an Interest in the property? Chack one.

CY Debtor 1 only

LI] Debtor 2 only

LJ Debtor 4 and Debtor 2 only

C} At least one of the debtors and another

 

 

CJ check if this is community property (see
instructions)

 

 

if you own or have more than one, list here:

42, Make:
Model:
Year:

Other information:

Who has an interest in the property? Check one.

C) Debtor 1 only

CD Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

 

CJ Cheek if this is community property (see
instructions)

 

    

 

Current value of the

entire property? portion you own?

Bo not deduct secured: claims or:exemptions: Put
the amount of any secured claims:on Schedule D:

Greditors Who Have-Claims Secured by Properly. -

Gurrant value of the -

 

Current value ofthe Current value of the |

entire property? portion you own?

5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here |... ee ene seeiseanniee

 

Official Farm 106A/B

Schedule A/B: Property

 

 

 
 

 

 

        

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 166A/B Schedule A/B: Property

 

 

 

Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 6 of 50
Debtor 1 Shirley 8. Grimmett Case number ti mown) 19-50634
First Name Middle Name Last Name .
| Part 3: | Describe Your Personal and Household Items
eovte | Current value of the
portion you own?
Do not deduct secured claims
a or. exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
1 No ‘Household Goods and Furnishi
ivi 1 ‘mouseno ooas an urmisnings
Yes. Describe... 9 $1,500.00
| 7. Elactronics
Examples: Televisions and radios; audio, video, stereo,.and digital equipment; computers, printers, scanners; music
collections; elactronic devices including cell phones, carneras, media players, games
L) No
Yes. Describe.......... é TV's $200, stereo photograph $0, amplifier $50, 1 computer $0, laptop $50, tablet $100, $750.00
‘large printer and printer/scanner $50, cell phone $200, music cc's and vinyl records $100
| 8 Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or basebail card collections; other collections, memorabilia, collectibles
No
CI Yes. Describe........., $
9. Equipment for sports and hobbies
Examples: Sports, photagraphic, exercise, and other habby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tocls; musical instruments
QQ No /
Yes. Describe. .........€lliptical machine $50, 1 bicycle $50, tool kit $25 $125.00
| 10. Firearms
Exampies: Pistols, rifles, shotguns, ammunition, and related equipment
No
LJ Yes. Describe. ........j g
11. Clothes
' Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
LY No |
Yes. Describe. ......../@lothes $250.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver .
L No :
& Yes. Describe. secssead | gold ring $200.00
13. Non-farm animals
Exampies: Dags, cats, birds, horses
No
C1 Yes. Describe.......... $
14, Any other personal and household items you did not already list, including any health aids you did not list
tL] No
Yes. Give specific . time share FL (Hilton Hotel) value to be supplied gUnknown
information............../
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 92,825.00
_ for Part 3. Write that number here ........ : >

page 4

 

 

 
Case 19-50634 Doci3 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 7 of 50

Debtor 1 Shirtey 8. Grimmett Case number (7 kmown)19-50634

First Name: Middle Name Last Name

 

 

 

Ea Describe Your Financial Assets

Do you own or ny lagal or equitable inte is

   

16.Gash

 

 

 

 

 

 

 

 

 

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
L) No
YES ccc casseccesnessuseseeevcenvensesnsesanssseverensessssangensonscscepqeyssssnesnessseneasoeasnssssessessesuesussuessesaeorseceuayeuseenacesaseacseequenegrenseets CASH ccc $15.00
; 17.Deposits of money
| Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
L) No .
YOS oe. Institution name:
17.1. Checking account: TD Bank $844.26
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.8. Cartificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
OD Yes... Institution or issuer name:

 

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and Joint venture

 

 

®@ No Name cf entity: % of ownership:
C) Yes. Give specific , , %
information about
| _ . oe
Ho .

 

 

 

 

 

Official Form 106A/8 Schedule A/B: Property

 

page 5°

 

 

 

ie ease neg re gene
Case 19-50634 Doc 13 Filed 05/30/19 Entered 05/30/19 16:06:49

Debtor 4 Shirley 8. Grimmett Case number (i sown 9-50634
First Name Middle Name Last Name

Page 8 of 50

 

  

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments ate those you cannot transfer to someone by signing or delivering them.

' Ne
L] Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

THOM. oes $
§
$
21. Retirement or pension accounts
Examples; \nterests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension cr profit-sharing plans
No
CO) ves. List each
account separately.. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirament account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prapayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
No
CDV eS ee ccecttsccsceee Institution name or individual:
Electric: . $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
) No
CU Yesuw uu. Issuer name and description:
5
$
Official Form 106A/B Schedule A/B: Property page 6

 

 

 
Case 19-50634 Doci3 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 9 of 50

Debtor 1 Shirley Ss. ~__ Grimmett : Case number (ir mcun)1 9-50634
First Nama Middia Name Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

24, Interests in an education IRA, in an account in a quallfied ABLE program, or under a qualified state tuition program.
26 U.S.C, §§ 530(b)(1), 529A(b), and 529(b)(1}.
No
CD VCS ern Institution name and description. Separately file the records of any interasts.11 U.S.C. § 521(c): .
$
| 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
No
C) Yes. Give specific
information about them. .. $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples. Internet domain names, websites, proceeds from royalties and licensing agreements
No
Cl Yes. Give specific
information about them...) $
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
CL) Ne
Yes. Give specific law license
information about them. .. 0.00
L
Current value of the
portion you own?
Dea notdeduct secured
claims.or exemptions.
28. Tax refunds owed to you
Sd No
CI Yes. Give specific information Federal: $
abouf them, including whether
you already filed the returns : State: $
and the tax years...
Local: $
29. Family support ;
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
I No
C) Yes. Give specific information. .............
Alimony: $
Maintenance: $
, Support: $
Diverce settlement: $
Property settlement: $
30. Other amounts Someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
C] Yes. Give specific information...............
$

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 
Case 19-50634 Doci3 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 10 of 50

Debtor 4 Shirley Ss. Grimmett Gase number (knows 9-50634
First Nama Middle Name Last Name

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renter's insurance

LC) No

Yes. Name the insurance company = Company name: - Beneficiary: Surrender or refund value:
of each policy and list its value. ...

See Attachment 1 . $0.00
3
$

32. Any interest in property that Is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
L) Yes. Give specific information. ..............

 

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
: Examples: Accidents, employment disputes, insurance claims, or rights to sue

XI No

C1 Yes. Describe each claim...

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

No
LI Yes. Describe each claim... eee.

 

 

35. Any financial assets you did not already list

No
CI Yes. Give specific information. ........... $

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here 2000 occ eceeeeeeeeceeeeeeenecennieentteneeioeerststatnnanrsiisnomesstninenaniiiiessscannnsessn 3859.26

 

 

 

oe Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
C) Yes. Go to line 38,

 

 

 
  
 

portion you:
Do not deduct
or exemptions.

38. Accounts receivable or commissions you already eared

@ No
LC) Yes. Describe......

 

 

 

39. Office equipment, furnishings, and supplies :
Exarnpies: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

No .
UO Yes. Deseribe....... ly
: J

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 11 of 50

Debtor 1 Shirley S. Grimmett Case number {7 mown) 9-50634
First Name Middle Name Last Name

 

: 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No
CI Yes. Describe....... $

 

 

 

 

| 41. Inventory
Sd No

QO Yes. Describe .......
oy

 

beg

42. Interests in partnerships or joint ventures
G2 No
CL) Yes. Describe....... Name of entity: % of ownership:
. % §
% $
% $

 

 

 

 

43. Customer lists, maillng lists, or other compilations
No
C) Yes. De your lists include personally identifiable information (as defined in 11 U.S.C. § 101{41A))?
No:
C) Yes. Describa........

 

 

 

| 44. Any business-related property you did not already list
| DNo

L] Yes. Give specific
information .........

 

 

 

 

 

 

 

of fF fF Ff . ©

 

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $0.00
for Part 5. Write that mumber Were... ccc cccecessssnsnsceseesnnnte sacar sosentesesorsetuitesstsnnmueseceeninsietserteieseestteseonnterseeneieecese DP

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

: 46.D0 you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

@ No. Go to Part 7.
UL) Yes. Go to line 47.

 

47, Farm animals
Examples: Livestock, poultry, farm-raised fish
M No

CB Yes. cece

 

 

 

 

 

 

    

Official Form 106A/B Schedule A/B: Property page 9

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 12 of 50

Debtor 1 Shirley 5. Grimmett Case number (t1mowny1 9-50634

 

First Name Middle Name Last Name

48, Crops—elther growing or harvested

id No

CJ Yes. Give specific
information. ............ $

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No
CD Yes. cc:

 

 

 

50.Farm and fishing supplies, chamicals, and feed
No
CU YS escssscsssssssssseees

 

 

 

_ 51, Any farm- and commercial fishing-related property you did not already list
No
CI Yes. Give specific |

information. venened $

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $0.00
for Part 6. Write that number Were ooo ecccccccccesescccsessssseessosssunegseconennesseransenenseerarsnvataeacenecoesacenavensesaessteetsuiitasseesasansaseeses SM

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
: Examples: Season tickets, country club membership

XI Ne

LI Yes. Give specific
information. ......06

 

 

 

 

 

 

 

84. Add the dollar value of all of your entries from Part 7. Write that MUIMDOr NOPE cc cssssescsssessssseeesserescenceceeesces SP $

 

List the Totals of Each Part of this Form

 

 

| 55. Part 1; Total raal estate, line 2.........ccccssssssssssssssessscsssnsccsssessenseueuessrereeestseenumseseesreeeermnmiiummusstiineststiannaiinena a — $029,000.00

2 56. Part 2: Total vehicles, line 5 $0.00
57. Part 3: Total personal and household items, line 15 $2,825.00
58. Part 4: Total financial assets, line 36 $859.25
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing related property, line 52 $0.00

_ 61.Part 7: Total other property not listed, line 54 + $0.00

 

62. Total personal property. Add lines 56 through 61.............. | §3:684.26 i Copy personal property total + +. 684.26

 

 

 

 

 

 

: 63. Total of all property on Schedule AJB. Add line 55 + We 62.00... cccccecccceccssulessssseassesssascessveseueesseresceeeeseeseeseussteesenven qo28,684.26

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 13 of 50

Attachment
Debtor: Shirley S. Grimmett Case No: 19-50634

Attachment 4
Mutual of Omaha (Universal Policy) -just started

 

 
Case 19-50634 Doci13_ Filed 05/30/19. Entered 05/30/19 16:06:49 Page 14 of 50

Fill in this information to identify your case:

 

Debtor 1 Shirley S. Grimmett

Firat Name Middia Name Laat Name

Debtor 2
(Spouse, if filing) First Name Middis Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50634 L} Check if this is an
{if known) amended filing

 

Official Form 106C |
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known). ,

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so.is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory [Imlt. Some exemptlons—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a jaw that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be jimited to the applicable statutory amount. .

Co identify the Property You Claim as Exempt

- 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Q] You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
@ You ara claiming federal exemptions. 11 U.S.C. § 522(b)(2)

. 2. For any property you list on Schedufe A/B that you claim as exempt, fill in the information below.

    

 

Brief description of the property and ling-on : Current vahie ofthe : ‘ie exeniption you clalia ‘Specific laws that allow.

Schedule A/B that lists this property portion you own

  

   

ck only one box for each exemption.

   

Brief Household Goods and 1 US.C. § 522(4){3)

description: Furnishings

Line from
Schedule A/B: &

 

$1,500.00 M$ 1,500.00

CD 100% of fair market value, up to
any applicable statutory limit

 

11 U.S.C, § 522(d}(3)

 

 

 

 

 

 

 

 

Brief See Attachment 1 ;
description: $750.00 3 750,00

Line from (J 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief elliptical machine $50, 1 bicycle 425.00 11 US.C, § S22(a)(3)
description: $50, tool kit $25 Sle. Hl $ 125.00

Line from CJ 100% of fair market value, up to

 

Schedule A/B: 9 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No
LJ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case’?

O No
Oh Yes . ee cvs

 

 

Official Form 106C Schedule C: The Property You Claim as Exempt page t of 2°

 

 

 

 
Case 19-50634 Doci3_ Filed 05/30/19

Shirley S. Grimmett

First Nee Mkidls Name

Debtor 1
Last Name

Entered 05/30/19 16:06:49 Page 15 of 50

Case number (rknown1 9-50634

 

Ee Additional Page

Brief description of the property and:lins

Current valué:of:the .

Amourit f the exemption you claim — Specifi

   

Check-only-one box for each exemption

 

I $ 200.00

 

 

CL) 100% of fair market value, up to
any applicable statutory timit

 

 

Hi) $ 15.00

 

on Schedule A/B that lists this proparty: portion you own
Copy the value from
Schedule A/B
i 1 gold rin

Brief g g

description: $200.00

Line from 42

Schedule A/B; —S—__

Brief Cash

description: $15.00

Line from

Schedule A/B: 4g

Ld 100% of fair market value, up to
any applicable statutory limit

 

Brief : Checking Account with TD Bank
description: $

Line from
Schedule A/B: 17.1

Clothes

844.26

Brief
description:
Line from 1
Schedule A/B:

Brief
description: $

$250.00

 

Line from
Schedule A/B:

Brief
description: 4

Line from
Schedule A/B:

Brief
description: 8.
Line from

Schedule A/B. |

Brief
description: $

Line from
Schedule A/B:

Brief
description: $

Line from
Schedule A/B:

Brief
description: 4

Line from
Schedule A/B:

 

11 U.S.C, § 522(d)(5)
Hl) $ 844.26
L3 100% of fair market value, up to
any applicable statutory limit

   

   

11 U.S.C. § 522(d)(3}
$ 250.00

L) 100% of fair market value, up to
any applicable statutory limit

Os

CI 100% of fair market value, up to
any applicable statutory limit

 

 

Os

CJ 100% of fair market value, up to
any applicable statutory limit

Os
©) 100% of fair market value, up fo
any applicable statutory limit

Os

£) 100% of fair market value, up to
any applicable statutory limit

 

 

 

Os.
C] 100% of fair market vaiue, up to
any applicable statutory limit

 

 

 

 

L$

 

 

 

 

Brief
description: $

Line from
Schedule A/B:

Brief
description: $

Line from
Schedule A/B:

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

 

 

Lig

L) 100% of fair market value, up to
any applicable siatutory limit

 

 

 

 

Os

C] 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

page _2 of 2

 

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 16 of 50.

Attachment
Debtor: Shirley S. Grimmett Case No: 19-50634

Attachment 1 .
4 TV's $200, stereo photegraph $0, amplifier $50, 1 computer $0, laptop $50, tablet $100, large printer and printer/scanner $50, cell phone $200,

music cd's and vinyl records $100

 
Case 19-50634 Doc 13

Filed 05/30/19 Entered 05/30/19 16:06:49

Fill in this information to identify your case:

Shirley S. Grimmett

First Name

Debtor 1

Debtor 2

Middle Name

Last Name

 

(Spouse, if filing) First Name

Middle Name

Last Name

United States Bankruptey Court for the: District of Connecticut

19-50634

Case number

 

(If knewn)

 

 

Official Form 106D

 

Page 17 of 50

L) Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property

12/15

 

Be as complete and accurate as possible. If two married peo
information. if more space is needed, copy the Additional Pa

additional pages, write your name and case number {if known).

1, Do any creditors have claims secured by your property?
LJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

 

eee ist All Secured Claims

   
   

ured. claims. If a creditor-He
laim: ff imore than one crac
s:possibls, list the claim

 

  
  
   

fe than one secured claim, list the creditor sepa
as a particular claim) list the other ¢reditors in P:
phabetical order according to:the creditor's name.

$578,575.88

ple are filing together, both are equally responsible for supplying correct
9@, fill it Out, number the entries, and attach it to this form. On the top of any

 

  
 
    

&

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

O bedtor 1 only
CO Debtor 2 only
QO) Debtor 1 and Debtor 2 only
(J At least one of the debtors and another

(1) Check if this claim relates to a
community debt

Date debt was incurred

Nature of lien. Check all that apply.

O an agreement you made (such as mortgage or secured
car loan)

| Statutory lien (such as tax lien, mechanic’s lien)
CO Judgment lien from a lawsuit
C) other (including a right tc offset)

 

37 : / ; ; wf is Noga ERR
Freedom Mortgage Describe the property that secures the claim: $925,000.00 $53,578.88
Creditor’s Name 38 Hedge Brook Lane, Stamford, CT 06903
Attn: Chief Financial Officer
Number Street

As of the date you file, the claim is: Check all that apply.
P.O. Box 7230 © dane you mes Ine cla ° pel
QC) contingent
Pasadena CA 91109 CY Untiquidated
City State ZIP Code oO Disputed
Who owes the debt? Check one. Nature of lien. Check alf that apply.
HI Debtor 1 only CJ An agreement you made (such as morigage or secured
O) Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax fen, mechanic's lien}
(J Atleast one of the debtors and another CQ] Judgment jien from a lawsuit
@ other (including a aight to offset) First Mortgage
C4 Check if this claim relates to a
community debt
Date debt was incurred _ Last 4 digits of account number _—__ ee
| 2.2] Describe the property that secures the claim: $ $ $
Creditar's Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
OO unliquidated
City : State ZIP Code QO Disputed

 

 

 

 

(5578,575.88

 

 

 

 

 

 

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 18 of 50

MAM KO LE elem Comolli tia a cele mer ke

Debtor 1 Shirley 3. Grimmett
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Nama

 

United States Bankruptcy Court for the: District of Connecticut

CL] Check if this is an
Gase number 19-0634 amended filing

 

 

Official Form 106E/F |
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim, Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number {if known}.

 

 

aa List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
CL) No. Go to Part 2.
X) ves.

  
 
 
 
 

   
 
 
  

has more than: one p
m has both priority ai
in alphabetical orde
olfmore than one 4

ype of claim, see the. ctions. for this form in

 

 

 

 

 

 

 

 

 

 

2.1 .
Department of Revenue Service Last 4 digits of accountnumber 9s —=——S—S—«é323,000.00__— 13,000.00 $0.00
Priority Creditors Name
State of Connecticut When was the debt incurred?
Number Street
See Attachment 1 As of the date you file, the claim is: Check all that apply.
Hartford CT 06103 O contingent
City State ZIP Code anungen
QJ Unliquidated
Who incurred the debt? Check one. g Disputed
@ Debter 1 only .
C) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QO) Domestic support obligations
Atleast one of the debtors and another &) Taxes and certain other debts you owe the government
C) Check if this claim is fora community debt 2 claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
@ No Q) other. Specify
C) Yes
2.2 | Intemal Revenue Service Last 4 digits of account number __ ___ 321,000.00 521,000.00 30.00

 

 

Priority Greditor’s Name

Attn: Bankruptcy Head When was the debt incurred? 2016,2017,2018

 

 

 

Number Street

See Attachment 2 As of the date you file, the claim is: Check all that apply.
Philadelphia PA = 19101-7346 OQ) Contingent

City State ZIP Gade QO) uUntiquidated

Who incurred the debt? Check one. 1 Disputed

@ Deticr 1 only

O) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(LL) Atleast one of the debtors and another

Type of PRIORITY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

C] Check if this claim is for a community debt

O OBC

Is the claim subject to offset?
@ no
OC) ves

 

 

 

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 19 of 50

Debtor 1 Shirley S. Grimmett
First Name Middle Name Last Name

| Part 2: IR All of Your NONPRIORITY Unsecured Claims

Case number tif known 1 9-50634

 

3. Do any creditors have nonpricrity unsecured claims against you?

 
 
 

"included in Pa ‘one creditor holds a partici
fill out fhe Continuat on Page of Part 2.

  
 
 

mi, list the other creditors’in: Part 3.

 

 

 

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

   
    

 

 

 

 

 

 

 

 

Nonpricrity Creditor’s Name

1825 Barnum Ave #201

 

Number Street

Stratford CT 06614

 

City State ZIP Code

Who incurred the debt? Check one.

@) Debtor 1 only

L) Debtor 2 only

O) Debtor 1 and Debier 2 only

C) At least one of the debtors and another

() Check if this claim is for.a community debt

!s the claim subject to. offset?

Q) no
U} Yes

 

© Total claim
41
bs | Amazon Synchrony Bank Last4 digits ofaccountnumber 797
Nonpriorify Crediters Name . 39 71
. . . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 960013
Number Street :
Orlando FL 32896-0013 _
City State ZIP Gode As of the date you file, the claim is: Check all that apoly.
oO Contingent
Who incurred the debt? Check one. OF Uniiquidated
) Debtor 4 only ie; Disputed
QQ) debtor 2 only .
C Debior 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CT At feast one of the debtors and another O Student loans
OC] Cheek if this claim is fora community debt a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? Q) Debts to pension or profit-sharing plans, and other similar debts
H) No ) other. Specify
LJ ves
2 American Express Last 4 digits ofaccountnumber $1,007.27
Nonpriority Creditors Name When was the debt incurred?
Attn: Chief Financial Officer P.O, Box 1270
Number Street
Newark NJ 07101-1270 As of the date you file, the claim is: Check all-that apply.
City State ZIP Code oO Contingent
Who incurred the debt? Check one. td Uniiquidated
gl Debtor 1 only QJ Disputed
C1 Debtor 2 only .
1 debtor + and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 At least one of the debtors and another OQ) ‘student loans
So a | QQ Obligations arising out of a separation agreement or divorce
Q) Check if this claim is.for a community debt that you did not repart as priority claims
Is the claim subject to offset? QO) Debts to pension or profit-sharing plans, and other similar debts
%] no @ other. Specify
C) ves
4.3 ' oe
| Attorney James L. O'Rourke Last4 digits ofaccount number $1,064.10

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.

@) Contingent
Q) Uniiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) Student leans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) bebts to pension or profit-sharing plans, and other similar debts
) other. Specify

 

 

or has more than-one
jot list claims already
our priority unsecured claitrs

 

 

 
Debtor +

 

é
E
i
u
i
:

After listing any. entries on'this

7

Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49

Grimmett
Last Name

Shirley $

First Name Middle Name

Page 20 of 50

Case number ¢rnown 1 9-50634

Your NONPRIORITY Unsecured Claims —Continuation Page

 

  

 

ber them beginning with 4.5, followed by 4.6; and

 

 

 

 

 

   

Last 4 digits ofaccountnumber

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name

 

Attn: Chief Financial Officer P.O. Box 71083

Number Street

Charlotte NC 28272-1083

 

City State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CI] At !east one of the debtors and another

C1 Check if this claim is for a community debt

Is the claim subject to offset?

) No
Q) Yes

Best Buy —_—— $2,263.19
Nonpriority Creditors Name
. , . . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 9001007
Number Street : -e
i, As of the date you file, the claim is: Check all that apply.
Louisville KY 40290-1007 .
Gily State ZIP Code Q) Contingent
QJ Unliquidated

Who incurred the debt? Check one. O) disputed
) pebtor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans

At least one of the debtors and another oO Obligations arising out of a separation agreement or divorce that
C] Check if this claim is.for a community debt you did not report as priority claims .

QO) debts io pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? K other. Specify
EH] No
QC) ves
fs igi . 549,00
Capital One Last 4 digits of-accountnumber —__ et $ ,
Nonpriority Creditors Name
. . \ . When was the debt incurred?
Atin: Chief Financial Officer P.O. Box 71083
Numbi Street
ame mee As of the date you file, the claim is: Check all that apply.
Charlotte NC 28272-1083 _ ,
City State ZIP Code () Contingent
; O Unliquidated

Who incurred the debt? Check one. oO Disputed
@ pebter 1 only .
(2 Debter 2 only Type of NONPRIORITY unsecured clair:
5 Debtor 1 and Debtor 2 only O Student Icans .

At least one of the debtors and another (1 Obligations arising out of a separation agreement or divorce that
CL) Check if this claim is for a community debt you did not report as priority claims _.

OC) Debis to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QZ) other. Specify
&l No
C) Yes
U8 | - 872.11

Capital One Last 4 digits of accountnumber —__ _

When was the debt incurred?

As of the date yau file, the claim is: Check ail that apply.

QO Contingent
UJ unliquidated
Q) bisputea

Type of NONPRIORITY unsecured claim:

C} Student loans

Q) Obligations arising cut of a separation agreement or divorce that
you did not report as priority claims

OQ Dents to pension or profit-sharing plans, and other similar debis

Other. Specify

 

 

 
:

i"

, After listing any entries/on this page, number them beginn

Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 21 of 50

Debtor 1 Shirley s Grimmett

First Name Middle Name Last Name

Case number Gr known 9-50634

Your NONPRIORITY Unsecured Claims —Continuation Page

 

Card Services
Nonpriority Crecitor’s Name

Attn: Chief Financial Officer P.O. Box 13337

Number Street

Philadelphia PA 19101-3337
City / State ZIP Code
Who incurred the debt? Check one.

&] Debtor 4 only

LI Debtor 2 only

Q) Debtor 1 and Debtor 2 oniy

QJ atleast one of the debtors and another

©) Check if this claim is for a community debt

Is the claim subject to offset?

   

a

4.5, followed by 4.

Last 4 digits ofaccountnumber

$2,929.61

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

CO) Contingent
QC} unliquidated
UL Disputed

Type of NONPRIORITY unsecured claim:

C) Student toans :

C Obligations arising out of a separation agreement or divorce that
you did not report as pricrity claims

L) Debts to pension or profit-sharing plans, and other similar debts

@) other. Specify.

 

 

 

 

 

 

 

 

 

 

) No
OC) Yes
pe] igi 2 522
Card Services Last4 digits ofaccountnumber $2,522.34 -
Nonpriority Creditors Name
: . . . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 13337
Number Street soy -
: . As of the date you file, the claim is: Check all that apply.
Philadelphia PA 19101-3337
City State ZIP Gade QO) Contingent
CY unliquidated
Who incurred the debt? Check one. 8} Disputed
@ Debter 1 only .
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
7 Debtor 1 and Debtor 2 only (1 Student loans
Atleast one of the debtors and another C1 Obiigations arising out of a separation agreement or divorce that
C} Cheek if this claim is for a community debt you did not report as priority claims os
QO) Debts to pension or profit-sharing plans, and other similar debts
_ is the claim subject to offset? Q) other. Specity
) No
CO ves
2 | _ 3670.88
Cerulean Last4 digits of accountnumber

 

Nonpriority Crecitor’s Nama

Attn: Chief Financial Officer P.O. Box 6812

When was the debt incurred?

 

Number Street

Caroi Steram IL 60197-6812

As of the date you file, the claim is: Check all that apply.

 

City : _ State ZIP Gade

Who incurred the debt? Check one.

&) Debtor 4 only

LI Debtor 2 only

C] Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

C1 Check if this claim is for a community debt

Is the claim subject to offset?
No
Ll Yes

QO) contingent
QO) unliquidated
=| Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Ll) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
() Debts to pension or profit-sharing plans, and other similar debts

B®) other. Specify

 

 

 

 
Debtor 1

   

  

 

 

 

Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49

Shirley S

. Grimmett
First Name Middle Name

Last Name

 

 

 

 

Page 22 of 50
Case number tfkaewn 1 9-50634

Your NONPRIORITY Unsecured Claims —Continuation Page

  
  
   
 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ithe, r a
er listing any entries number them ‘beginning with 4.5, followed by 4.6, ai
4.10 ini
Credit One -Last4 digits ofaccountnumber $928.08
Nonpriority Creditor's Name
: ‘ . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 60500
Number Street we
. As of the date you file, the claim is: Check all that apply.
City of Industry CA 91716-0500
City State ZiP Code CL) Contingent -
OC) unliquidated
Who incurred the debt? Check one. Q Disputed
@ Debtor 1 only
L) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only © Student loans ‘ .
| Atleast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt _ you did not report a8 priority claims _.
QC) Debts.to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
% No
CI ves
a Last 4 digits of 1,573.54
Credit One ast4 digits ofaccountnumber $1, :
Nonoriority Creditors Name
. . . . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 60500
Numb
mn or Strest As of the date you file, the claim is: Check all that apply.
City of Industry CA 91716-0500
Cily Slate ZIP Code Q) contingent
oO Unliquidated
Who incurred the debt? Check one. OC) Disputed
® pebtor 4 only .
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
C1 Dabier 1 and Debtor 2 only © Stugent loans :
U) Atleast one of the debtors and another Q] Obligations arising out of a separation agreement or divorce that
C) Check if this claim is fora community debt you did not report as priority claims a
: oO _Debts to. pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Z) other. Specify
&) No ,
C) ves
(4.12 92,273.21
Empire Today Wells Fargo Last4 digits ofaccountnumber
Nonpriority Creditor's Name
ae . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 71118
Numb Street
ener mee As of the date you file, the claim is: Check all that apply.
Charlotte NC 28272-1118
City State ZIP Cade QQ) Contingent
O Unliquidated
Who incurred the debt? Check one. Q Disputed
Hl Debtor 1 only
(1) Debtor 2 only Type of NONPRIORITY unsecured claim:
QJ Debtor 1 and Debtor 2 only - @ Student loans
U) Atleast one of the debtors and another QJ Obligations arising out of a separation agreement cr divorce that
OC) Check if this claim is fora community debt you did not report as priority claims _
: O Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? ) other, Specify
@ No
LJ yes

 

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 23 of 50

Debtor 1 Shirley S. Grimmett Case number rkaow 9-50634
First Name: Middle Name Last Name

ee Your NONPRIORITY Unsecured Claims —Continuation Page

    

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ing any entries on this page, number vith 4.5, followed by 4.6, and
First National CC Last 4 digits ofaccountnumber $1,598.71
Nonpricrity Creditor’s Name
. . . / ’ When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 2496
Number Street sae
As of the date you file, the claim is: Check all that apply.
Omaha NE 68103-2496
City Slale ZIP Code C1 Contingent
; (9 Uniiquidated
Who incurred the debt? Check one. © Disputed
@) Debtor 1 only
(1 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only: O Student loans 4
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
(CU Check if this claim is for a community debt you did not report as priority claims _
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? EZ] Oiher. Specify
KH) No
C} Yes
4.14 igits of t b 1,113.49
Macy's Last 4 digits ofaccountnumber Le gl, .
Nonpricrity Creditors Name
: : : . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 9001094
Numb Street
m st . ee As of the date you file, the claim is: Check all that apply.
Louisville KY 40290-1094
city State ZIP Cade oO Contingent
; C) Untiquidated
Who incurred the debt? Check one. CI pisputed
@ Debtor 4 only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 4 and Debtor 2 only O) Student loans
(Al At least one of the debtors and ancther (2 Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims _.
QC) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? &) other. Specify
@) No
C1 Yes
4.15 . $1,802.75
Merrick Bank Last 4 digits of accountnumber oe
Nonoriority Creditor’s Name
: . : . When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 660702
Number Street :
As of the date you file, the claim is: Check all that apply.
Dallas TX 75266-0702 ,
City State ZIP Code 1 Contingent
QO Unliquidated
Who incurred the debt? Check one. G) bisputed
MI Debtor 4 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
() Debtor 4 and Debtor 2 only O Student loans
U1 At least one of the debtors and another CJ Obligations arising out of a separation agreement or diverce that
CJ Check if this claim is for a community debt you did not reper as priority claims 7
. (J Debts to pension or profit-sharing plans, and other simiiar debts
Is the claim subject to offset? @) other, Specify
@ No
C) Yes

 

 

 
i

 

fer listing any entries

Case 19-50634 Doci3_ Filed 05/30/19 Entered 05/30/19 16:06:49
Debtor 1 Shirley $s

. Grimmett
First Name Middle Name Last Name

BER vo~- sonersonsry Unsecured Claims —Continuation Page

Page 24 of 50

Case number ¢knows,19-50634

 

   
 

  

én this page, number them beginning

 

 

 

 

 
 

   

followed by 46, and so forth,

 

Last4 digits ofaccountnumber

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

OQ) Debtor 1 only

Q Debtor 2 only

O) Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

L) Check if this claim is for a community debt

Is the claim subject to offset?

LI No
Cl ves

Stamford Hospital —_——_— $10,560.90
Nonpriority Creditor's Name
: . : When was the debt incurred?
Attn: Chief Financial Officer P.O. Box 5027
Number Street os
As of the date you file, the claim is: Check ail that apply.
Stamford CT 06904
Cily State ZIP Code O) contingent
; CO unliquidated
Who incurred the debt? Check one. ‘ O disputed
&] Debtor 4 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only Student loans
At least one of the debtors and another i Obligations arising out of a separation agreement or divorce that
L] Check if this claim is for a community debt you did not report as priority claims .
CI) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? KX) other. Specify
] No
Ld ves
4.17] iat 21 800.0
Westover Schoo! Last4 digits ofaccountnumber $21,800.00
Nonoriority Creditors Name
When was the debt incurred? .
See Attachment 3
Number Street woo
: As of the date you file, the claim is: Check ail that appiy.
Middlebury CT 06762
City State ZIP Gade QC] contingent
QO Uniiquidated
Who incurred the debt? Check one. O Disputed
®) Debtor 1 only ,
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Dabtor 1 and Dentor 2 only @) Student loans .
Atleast one of the debtors and another O Obligations arising oui of a separation agreement or diverce that
() Check if this claim is for a community debt you did not report as pronty claims
OC) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) Other. Specify
Zl No
OD} ves
4.18 3
Last4 digits ofaccountnumber
Nonpriority Creditor's Name
When was the debt incurred?
Number Street wo
As of the date you file, the claim is: Check al! that apply.
City State ZIP Code O contingent

QO) unliquidated
| Disputed

Type of NONPRIORITY unsecured claim:

CI Student loans

O Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Detis to pension or profit-sharing plans, and other similar debts

C) other. Specify

 

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 25 of 50

Debtor 1 Shirley 8. Grimmett ; Case number ¢rinewa1 9-50634
First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
: Add the amounts for each type of unsecured claim.

 

Total claim -

 

 

. Domestic support obligations 6a. 30.00
. Taxes and certain other debts you owe the

government 6b. 334,000.00
. Claims for death or personal injury while you were

intoxicated 6c. $0.00
. Other, Add all other prierity unsecured claims.

Write that amount here. 6d. + 40,00
. Tota]. Add lines 6a through 6d. 6e.

$34,000.00

 

 

 

 

 

 

   

6f. Studentloans - 6f. $21,800.00
6g. Obligations arising out of a separation agreement
_or divorce that you did not report as priority ;
claims 6g. ¢0.00
6h. Debts to pension or profit-sharing plans, and other
: similar debts : Gh. 30.00
i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. + $32,701.89
6j. Total. Add lines 6f through &i. 6j.
I 3 IT 654,501.89

 

 

 

 

 

 

 

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 26 of 50

Attachment
Debtor: Shirley S. Grimmett Case No: 19-50634

Attachment 1
Attn: Bankruptcy Head
450 Columbus Blvd Suite 1
Attachment 2
Centralized Insolvency Operation
Post Office Box 7346
Attachment 3
Attn: Chief Financial Officer P.O, Box 874
1237 Whittemore Road

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 27 of 50

Fill in this information to identify your case:

Dabtor Shirley S. Grimmett

Firat Name Middie Name

Debtor 2
{Spouse If filing) First Name Middia Name

 

United States Bankruptey Court for the: District of Connecticut

19-50634
Gase number CJ Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 412115

_ Be as complete and accurate as possible. If two married people are filing together, both are equaliy responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
(1 No. Check this box and fife this form with the court with your other schedules. You have nothing else fo report on this form.
Yes. Fill in ail of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease, Then. state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases. ,

 

 

 

 

h whom you have the contract or lease

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

GM Financial Attn: CFO . Auto Lease - 2017 Cadillac Escalade $936/month (12 more
Name months)
P.O. Box 78143
Number ‘ Street
Phoenix AZ 85062-8143
City State ZIP Gode

2.2 : Auto lease - co-signed for daughter

“| Ford Credit Attn: CFC

“"" Name e 2017 Ford Escape $355/month (to March 2020)
P.O. Box 220564 ,
Nurriber Street
Pittsburgh PA 15257-2564
City State ZiP Code

2.3)
Name
Number Street
City State —_ZIP Coda

pa
Name
Number ‘Street

outelly. State ZIP Cade

25)

[ Name
Number Street
City Stata ZIP Code

 

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of_1_
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 28 of 50

Fill in this information to identify your case:

   

Debtor 1 Shirley S. Grimmett
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing} First Name Middle Nama Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50634

flf known)

 

C) Check if this is an
amended filing

Official Form 106H
‘Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and:
case number (if known). Answer every question.

 

4. Bo you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
No
CL) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivalent live with you af the time?

LJ] No

CL) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

|
|

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

{

 

‘ City State ZIP Code
i
: 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule &/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedute D,
Schedule E/F, or Schedule G to fill out Column 2.

 
 

Column: 1: Your codebtor Column 2: The.creditor

 

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
LL] Schedule D, line
Name
() Schedule E/F, fine
Number Street O) Schedule G, line
City State ZIP Code
3.2 ,
LJ Schedule D, line
Name
(J Schedule E/F, line
Number Street ) Schedule G, line
City State ZIP Gade _
3.3
] Schedule D, line
: Name
Q) Schedule E/F, line_
Number Street OV Schedule G, line

 

 

con lly . State oP O Ode nas

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 29 of 50

Fill in this information to identify your case:

Debtor 1 Shirley S. Grimmett
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Nama : Last Name

 

United States Bankruptcy Court for the: District of Connecticut

Case number 19-50634 Check if this is:

{lf known)
LJ An amended filing

C) A supplement showing post-petition
chapter 13 income as of the following date:

 

 

Official Form 106] MM? DDT YYYY
Schedule I: Your Income 42115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are.separated and your spouse fs not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 4: | Describe Employment

HM. Fill in your employment
| _ information.

 

 

  

 

| if you have more than one job,
' attach a separate page with ‘
information about additional Employment status Q) Employed CL) Employed

| employers. CL) Not employed LJ Not employed

Include part-time, seasonal, or

self-employed work. 4s
ey Occupation substitute teacher
Occupation may Include student

or homemaker, if it applies.
Employer's name Board of Education Greenwich

Employer's address = 104 Field Pt. Rd.
Number Street Number = Sireet

 

 

 

i Greenwich, CT 06830
i City State ZIP Code City State ZIP Code

How long employed there? 4 year

are cv Details About Monthly Income

| Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated,

| If you or your non-filing spouse have more than one employer, combine the information for ail employers for that person on the lines

below. If you need more space, attach a separate sheet to this form. :

For Debtor 2 or os

| a For
: : non-filing spouse

 

 

| 2. List monthly gross wages, salary, and commissions (before ail payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2, $274.50 $0.00
; 3. Estimate and list monthly overtime pay. 3. +50.00 + 30.00

 

i 4. Calculate gross income. Add line 2 + line 3. 4. $274.50 $0.00

 

 

 

 

 

moet ro aA, Mok ee ee

 

 

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49

 

 

 

 

 

 

Case number (if known 19-50634

Page 30 of 50

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Shirley S. Grimmett
First Name Middle Name Last Name
For Debtor 1 For Debtor:
non-filirig-s
Copy line 4 here oo ccccccceccccesssesssssssscecssecessesssseessteesasesanecasessevesevesieeeeees >4 9274.50 $0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. $82.96 $0.00
6b. Mandatory contributions for retirement plans 6b. $0.00 $0.00
5c. Voluntary contributions for retirement plans Sc. $0.00 $0.00
5d. Required repayments of retirement fund loans 6d. $0.00 $0.00
5e. Insurance 5e.. $0.00 $0.00
5f. Domestic support obligations 5f. $0.00 $0.00
5g. Union dues 5g. $0.00 $0.00
5h. Other deductions. Specify: 5h. +$0.00 + $0.00
| 6. Add the payroll deductions. Add lines 5a + 5b+5c+5d+5e+5f+5g+5h. 6. $82.96 ¢0.00
_ 7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $191.54 30.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $0.00 $0.00
monthly net income. : 8a.
8b. Interest and dividends 8b. $0.00 $0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive |
fo Include alimony, spousal support, child support, maintenance, divorce $0.00 $0.00
settlement, and property settlement. . 8c.
8d. Unemployment compensation Bd. $1,792.00 $0.00
8e. Social Security Be. $2,262.10 $0.00
&f. Other government assistance that you regularly receive :
Include cash assistance and the value (if known) of any non-cash assistance
: that you receive, such as food stamps (benefits under the Supplemental $ $0.00
Nutrition Assistance Program) or housing subsidies.
Specify: 8f.
8g. Pension or retirement income 8g. $3,900.00 $0.00
8h. Other monthly income. Specify: 8h. +50.00 + 30.00
9. Add all other income. Add lines 8a + 8b + 8¢ + Bd + Be + Bf +8g + Bh. 9. + 37,954.10 $0.00
10. Calculate monthly income. Add line 7 + line 9. ‘
; : 8.145.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $8,145.64 $0.00 8 5.64
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives. ,
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11.7% 30.00
12. Add the amount in the fast column of tine 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. 38,145.64
Combined

No.

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

monthly income

 

 

QI Yes. Explain:

 

 

 

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 31 of 50

Fill in this information to identify your case:

 

Debtor 1 Shirley S. Grimmett Middle Name Last Name Check if this is:

Debtor 2 .
(Spouse, if filing) First Name Middie Name * Last Name U An amended filing
A supplement showing post-petition chapter 13

 

 

 

United States Bankruptcy Court for the: District of Connecticut expenses as of the following date:
Case number 19-50634 MM 7 DD/ YYYY
{lf known)

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question. ,

rae Describe Your Household

1. Is this a Joint case?

 

 

@ No. Go te line 2.
LJ Yes. Does Debtor 2 live in a separate household?

O) No
LJ Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? OC} No
: Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and MM Yes. Fill out this information for Debtor 1 or Debtor 2 age : with you?
Debtor 2. each dependent.................. Oo
Do not state the dependents’ child 25 No
names. KI Yes
LJ No
C Yes
CJ No
C) Yes
L No
OO Yas
CL). No
C] ves
3. Do your expenses include No

expenses of people other than
yourself and your dependents? I Yes

 

ra Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedufe J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule F Your Income (Official Form B 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 94,158.53

any rent for the ground or Iot. 4, :

If not included in line 4:

4a. Real estate taxes 4a. 50.00

4b. Property, homeowner's, or renter’s insurance 4b. $0.00

4c. Home maintenance, repair, and upkeep expenses 4c. $200.00

4d. Homeowner's association of condominium dues 4d. 0.00

Official Form 106J Schedule J: Your Expenses page 1

 

 

i
i
i
|
i
i
i

 
Case 19-50634 Doci3_ Filed 05/30/19 Entered 05/30/19 16:06:49

Debtor 4 Shirley S. Grimmett

10.
11.

12.

13,

14,

15.

16,

20.

Official Form 106J Schedule J: Your Expenses.

 

Firat Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

éd. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
De not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicte insurance

16d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or loase payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Page 32 of 50

Case number (tinownyl 9-50634

6a,
6b.
6c.
6d.

19,
11.

12.
13.
14.

15a.
15b,
166,

15d.

16.

17a.
Tb.
17c.

7d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule f, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

20a.
20b.
20c.
20d.
ate.

$540.00
$75.00
$245.00
$0.00
$550.00
$0.00
$90.06
$100.00
$70.00

$175.00

- $75.00

$165.00

$240.00
$201.00

$240.00
$0.00

30.00

$936.00
$355.00

$0.00

350.00

¢0.00
g0.00
30.00
30.00
$0.00

 

page 2

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 33 of 50

Dabtar 4 Shirley S. Grimmett

Firet Name Middia Name

21; Other. Specify: Timeshare

(22. Calculate your monthly expenses.
22a. Add lines 4 through 21.

22b. Copy line 22 (monthly expenses for Debtor 2), if any, fram Official Form 106J-2
22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) fram Schedule |.

23b. Copy your monthly expenses from line 22 above.

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income.

Gase number (mown) 9-50634

21.

22,

23a.

23b.

‘24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage’?

"No.

+$117.00

 

 

$8,582.53

$

 

$8,582.53

 

 

$8,145.64

 

— $8,582.53

 

 

 

$-436.89

 

 

 

O Yes. | Explain here:

 

Official Form 106J

Schedule J: Your Expenses

page 3

 

 

eee re mea rene eT Pn ey eee fe
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 34 of 50

Fill in this information to identify your case:

Debtor 1 Shirley S. Grimmett

First Name Middle Name Last Name

Debtor 2
(Spause, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Connecticut
Case number 19-50634

{If known)

LJ Check if this is an

 

 

amended filing

Official Form 106Dec |
Declaration About an Individual Debtor’s Schedules 12/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up te $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

XI No

LC) Yes. Name of person . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

‘Doty h Btanf

Signature of Debtor 1 Signature of Debtor 2

Date ST 3e Mi S Date
MM/* DD MM/ DD f YYY¥

eT we ea

 

 

Official Form 106Dec , Declaration About an Individual Debtor's Schedules page 1

 
Case 19-50634 Doci3_ Filed 05/30/19

IAM a MUR Eisele (else Mme Lele met: coe

Debtor 1 Shirley S. Grimmett

Entered 05/30/19 16:06:49 Page 35 of 50

 

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if filing) First Name Middle Nama Last Nama

United States Bankruptcy Court for ihe: District of Connecticut

19-50634

Case number
{If known)

 

 

QO Check if this is an

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

ES Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

1) Married
XX) Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

No

CJ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

Debtor.1: Debtor 2: es Debtor
. oe ed there
L) Same as Debtor 1 LL] Same as Debtor 1
From From
Number Street Number Street
To To
City Staie ZIP Code City State ZIP Code
[J Same as Debtor 4 [J Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code ‘City State ZIP Code

3. Within the last 8 years, did you ever tive with a spouse or legal equivaient in a community property state or territory? (Community property staies
: and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

XY No

CL) Yes. Make sure you fill cut Schedule H: Your Codebiors (Official Form 106H).

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptey

page 1

 

 
‘Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 36 of 50

Debter 1 Shirley S. Grimmett Case number (renown 1 9-50634
First Nama Middle Name Last Name

Ee Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O) No
@ Yes. Fill in the details.

 
     

 
 

 

 

Sources of income .. Gross income a
Cheeck-all that apply." (before deductions:and
ana exclusions) exclusions) :

x) Wages, commissions, CL) Wages, commissions,

 

 

From January 1 of current year until : $1,098.00 : 5
the date you filed for bankruptcy: bonuses, tips bonuses, tips ;

) Operating a business CJ Operating a business

For last calendar year: a) Wages, commissions, LJ Wages, commissions,
‘ bonuses, tips $7,168.00 bonuses, tips $

(January 1 to December 31,2018 ) (J operatinga business () Operating a business

vyyy

For the calendar year before that: 4 pases. commissions, O mages commissions,

enuses, tip $144,151.00 uses. TP $

. (January 1 to December 31,2017 _ ) (J Operating a business LY operating a business
YY

   

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rentaf income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

L No
Yes. Fill in the details.

  

Sources of income Gross income from:, . “Sources of Income
Describe below. each source | - Describe below.
{before deductions and :

exclusions} exclusions) -

unemployment comp 68,897.00

From January 1 of current year until

 

 
 

 

 

    
   

 

 

 

 

 

 

     

 

 

the date you filed for bankruptcy: social security $11,310.00
pension 15,600.00
For last calendar year: ,  s0cial security $32,275.00
(January 1 to December 31,2018 _) Pension $81,875.00
yyy
$
For the calendar year before that: = unemployment comp $1,125.00
(January 1 to December 31,2017) social security $31,436.00 $
YY a
pension $46,800.00

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49

Debtor 1 Shirley S. Grimmett

Middia Name

First Name

Case number ¢tknown 19-50634

Last Name
SN

Er List Certain Payments You Made Before You Filed for Bankruptcy

Page 37 of 50

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

LJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

L] No. Go te line 7.

UL Yes. List below each creditor ta whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. De not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

@ Yes. Debtor 1 or Debtor 2 or both.have primarily consumer debts.

During the $0 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

Cl Yes. List betow each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditar’s Name

 
 

ayment

 

Number

Street

 

 

State ZIP Code

 

Creditor's Name

 

Number

Street

 

 

State ZIP Cade

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

ates of ‘Total amount pald Amount you still owe -.

 

Cy Mortgage
Q) car
C} Credit card

CL] Loan repayment
Q Supoliers or vendors

LI) other

(J mortgage

QO car

LD credit card

CJ Loan repayment

) Supliers or vendors

- OC) other

C) mortgage

() car

C3 credit card

LY Loan repayment

QO Suppliers or vendors

LY other

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 3

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 38 of 50

Debtor 1 Shirley 3. Grimmett Case number gimawn 19-50634
Firat Name Middle Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your ‘elatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities: and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C.-§ 101. Include payments. for domestic support obligations,
such as child support and alimony. ,

No
LJ Yes. List all payments to an insider.

‘Dates of ‘Total amount:
payment paid

 

Reason for this payment

 

 

 

$ $
Insider's Name .

 

t
Number Street

 

 

Gity State ZIP Coda

 

 

 

 

Insider's Name

 

Number Street

 

 

 

 

City State ZIP Code

 

 

a Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
: an insider?

Include payments on debts guaranteed or cosigned by an insider.

Hl No

L) Yes. List all payments that benefited an insider.

    

“Dates of Total amount AW

unt you still “Reason for this payment
payment paid

Include creditors name. -

    

 

- 3 $
Insider's Name

 

Number = Street

 

 

City State ZIP Gode

 

 

Insider's Name

 

Number Street

 

 

City oes State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 
Case 19-50634 Doci3_ Filed 05/30/19 Entered 05/30/19 16:06:49 + Page 39 of 50

Debtor 1 Shirley $. Grimmett Case number (knowl 9-50634

First Name Middle Name Last Name

Ezy Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

GI No
L) Yes. Fill in the details.

Court or agency

   

Nature of the.

 

 

 

 

 

 

 

 

 

 

 

 

 

Case title C) Pending
LC) on appeal
Number Street | Concluded
Case number :
i Cily State ZIP Cade
Case titie Cour Name C) Pending
QO) on appeal
Number Street Q) Concluded
Case number
; City State ZIP Code

 

_ 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
: Check all that apply and fill in the details below.

 

No. Go to line 11,
CL) Yes. Fill in the information below,

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

Deacribe the property Value of the property
/ $
Creditors Name
|
Number Street lappened
CL} Property was repossessed.
QC) Property was foreclosed.
Q) Property was garnished,
City Stale ZIP Code L} Property was attached, seized, or levied.
Value ofthe property
$

 

 

 

Creditors Name

 

 

Number Street

 

Explain what-happened

 

Properly was repossessed.

Property was foreclosed,

Property was garnished.

Property was s attached, seized, or levied.

 

City State ZIP Code

OoOoUo

 

 

Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
Case 19-50634 Doci13_ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 40 of 50

Debtor 1 Shirley S. Grimmett Case number grimown 1 9-50634

First Name Middle Name Last Nama

11. Within $0 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

No
Q) Yes. Fill in the details.

Date.action Amount
was.taken

Describe the action:the creditor took

 

 

 

Creditors Name

 

Number Street

 

 

 

 

City State ZIP Cade Last 4 digits of account number: OO&—

42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?
No
LI Yes

Ea List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
LJ Yes. Fill in-the details for each gift.

Gifts with a total -value-of more than $60 gave. Values |

56 the gifts
per.person’ .

 

   
 

 

 

 

 

 

 

 

    

 

 

$
Person ta Whom ‘You Gave the Gift ;
: i
$
City State ZIP Code
Person's relationship to you
Gifts with: a tofal value-of more t Describé.the. gifts Value
per person _ .
$
Person to Whom Yau Gave the Gift :
$

 

 

 

City State ZIP Code

Person's relationship te you

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy , page 6

 

 

 
Case 19-50634 Doci13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 41 of 50

Debtor 1 Shirley 5S. Grimmett Case number (finownyl 9-50634

First Name Middis Name Last Name

 

 44,Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

L) No

Yes. Fill in the details for each gift or contribution.

  
 

Date you

Describe what you contributed
os contributed ~~

   

per month
Church |

Charity’s Name

$165.00

 

 

 

 

 

City State ZIP Code

Eo List Certain Losses

18. Within 1 year before you filed for bankruptey or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

@ No
CJ) Yes. Fill in the details.

Cammmcnrnenn sn ANNA km A saat ranma nner ws

 

  
   
   
  

   
 
 

    

 

ribe the peoperty i you. lost and how Describe any Vverage for the loss Pe ‘Pate of yourloss. | Value of property;
oss occurred es . lost :
Inctude the-amoun rance has-paid: List pending insurance
claims on line.33.0 le AB: Property.
|
| $

List Certain 1 Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

CL) No
Yes. Fill in the details.

  

   

‘property transferred 5 Date payme it or - Amount of paym
es transfer was made

Ellery E. Plotkin

Person Who Was Paid

See Attachment 1

Number Street

 

 

 

consuttation $4 00; bankruptey fee $2700.00 ee

 

| 5100.00
|

 

$2,700.00

 

City State ZIP Code

 

Email or website address

 

 

Parson Who Made the Payment, if Not You

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
Case 19-50634 Doci3 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 42 of 50

Debtor 1 Shirley S. Grimmett Case number titnowm1 9-50634

First Name Middle Narne- Last Nama

 

 

 

Description and value of any pro

 

Date paymentor Amount of
transfer was made: - payment

  

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or te make payments to your creditors?
Do not inctude any payment or transfer that you iisted on line 16.

No
LJ Yes. Fill in the details.

 

escription and: vatue of-ai

   

 

Person Who Was Paid i

 

Number Street

 

 

| | $
|

i
i
t
i
t
j

City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs? , ,
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
No

LJ Yes. Fill in the details.

Description and‘value ofp
_transferred

  

 

 

Person Whe Received Transfer i

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

City State ZIP Code

 

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
Case 19-50634 Doci3 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 43 of 50

Debtor 1 Shirley S. Grimmett Case number known 19-50634

First Nama Middle Nama Last Name

19. Within 19 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are @ beneficiary? (These are often called asset-protection devices.)

No
L) Yes. Fill in the details.

   

 

Date transfer
was made

 
 

and valué of the p

   

 

Name of trust

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

) No
Yes. Fill in the details.

  

       

 

 

Last 4 digits of a umber Type-of account.or alance: before
: : Instrument : loosed, sold; moved, 9 or transfer.
or. transferred ,
Transamerica
f Fi ial Instituti
Name of Financial Institution XO ee oO Checking Jan 3019 $5,000.00
O Savings

Number Street
i Money market

 

O Brokerage

 

 

 

 

 

city State ZIP Code @ otherannuity
XXX Ld checking 5
Name of Financiat Institution .
OO Savings
Number Streat LJ Money market

Q) Brokerage
C) other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

@ No
(1 Yes. Fill in the details.

“Do. you still
have it?

No

Name of Financial Institution ‘ame L Yes

    

 

 

 

 

Number Street Number Street

 

 

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 9

 

 
Case 19-50634 Doci13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 44 of 50

Debior 1 Shirley S. Grimrmett Case number rinam 1 9-50634

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 4 year before you filed for bankruptcy?
No
Cl Yes. Fill in the details.

 

 

Who else has or had access-to it? Do-you stl!
: POSED SB 2 MBL onll et OPE PR Oe have it?
EI No
Name of Storage Facility Name Q Yes

 

Number Street Number Street

 

City State ZIP Gode

 

 

City. ; State ZIP Code

 

J Part 9: | Identify Property You Hold or Control for Someone Else

23. Do you hald or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
C) No
Yes. Fill in the details.
Whereis the property?

  

 

: Describe the property

2 leased autos - see Schedule G

Owner's Name

 

 

Number Street

 

Number Street

 

 

 

City State ZIP Coda

 

City State ZIP Code

} Part 10: Give Details About Environmental Information uf

: For the purpose of Part 10, the following definitions apply:

mg Environmental law means any federal, state, or tocal statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 

= Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
it or used to‘own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

, Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

No
CL) Yes. Fill in the details.

   

Goverrimenta! unit imental law, if you kriow it

 

 

 

 

 

 

 

Name of site Governmental unit
Number Street Number Street

City State ZIP Coda
City Stata ZIP Gode

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 45 of 50

Debter 1 Shirley S$. Grimmett Case number (known 9-50634

First Name Middle Name Last Name

25, Have you notified any governmental unit of any release of hazardous material?

No
‘2 Yes: Fill in the details.

   

Gov fnmiehtal unit ntatlaw, if you know it: ~~

   

 

 

 

 

 

Name of site Governmental unit
Number Street : Number Street
City State ZIP Code
i
E

City State ZIP Gode

 

 

: 26. Have you been a party in any judicial or administrative preceeding under any environmental law? Include settlements and orders.

No
C2) Yes. Fill in the details.

  

 

 

 

 

 

Status of the
Court or agency ee te case
Case title
Court Name . a Pending
QO on appeal
Number Street . , O Concluded
Case number City State ZIP Code

 

ae Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
: UL] Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time.
@ A member of a limited liability company (LLC) or limited liability partnership (LLP)
CQ) A partner in a partnership
LU] An officer, director, or Managing executive of a corporation

() An owner of at least 5% of the voting or equity securities of a corporation
[} No. None of the above applies. Go to Part 12.

W Yes. Check ail that apply above and fill in the details below for each business.
Describe the nature of the business

 
 

mn number

Shirley S. Grimmett, LLC al Security: number or ITIN.

Business Name

 

 

no activity

 

Number Street

 

- Name‘of:accountant or bookkeeper

 

 

 

 

eM... State ZIP Gode

 

  

= ‘Employer identification number

Describe the nature of the business
: ‘ : Do not include Social Security number or ITIN:

   

 

 

Business Name

 

 

 

   

   

Number Street —

 

Dates business existed

ccountant or bookkeepel

 

 

 

| From To

 

 

 

City State ZIP Code

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 46 of 50

Debtor 4 Shirley S$. Grimmett Case number known 9-50634

Firat Narn Mi¢dle Nama Last Name

 

 

E ployer identification number
Do not include Social.Security number or ITIN.

   

 

‘Des ibe the nature of the business

 

 

 

Business Name

 

 

Number Street 7 Dates business.existed

 

 

 

 

 

 

 

From To

 

City State ZIP Gode

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

No
LI Yes. Fill in the details below.

Daté issued

 

Name MM / DD /YYYY

 

Number Street

 

 

City State ZIP Code

i Sign Below

| have read the answers on this Statement of Financiaf Affairs and any attachments, and i declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

bb anni «

* t
lanfture of Debtor/1 Signature of Debtor 2

Date S71 321¢9 Date /

Did you attach additional pages to Your Statement of Financial Affairs for individuats Filing for Bankruptcy (Official Form 107}?

No _
L] Yes

 

 
  

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
XH) No

O) Yes. Name of person . Atiach the Bankrupicy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119}.

 

 

 

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 12

 
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 Page 47 of 50

Attachment
Debtor: Shirley S. Grimmett Case No: 19-50634

Attachment 1
Law Offices of Ellery E. Plotkin, LLC

 
Case 19-50634 Doc13 Filed.05/30/19 Entered 05/30/19 16:06:49 Page 48 of 50

Fill in this information to identify your case:

Debtor1 - Shirley S. Grimmett
First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District Of Connecticut

Case number 19-50634 L] Check if this is an
{If known} amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 izis

 

if you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, uniess the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known},

Ea List Your Creditors Who Hold Secured Claims

 

_ 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hoid Claims Secured by Property (Official Form 106D), fill in the
: information below.

‘Identify the creditor and the property that is What: do you Intend to:do with the property that Did-you claim the property :

 

 

socures.a debt? as exempt on Schedule c?
wreditors L] Surrender the property. No .
name; Freedom Mortgage urre property
. wet ~ hee Efe ~ Fesguitigg” 7 70y Gan evags seteenmnapoanoannggrieennneentn LJ Retain the property and redeem it. Q Yes

D iption of
escription o CJ Retain the property and enter into a

 

 

 

een debt-38 Hedge Brook Lane, Stamford, CT 06903 Reaffirmation Agreement.

H] Retain the property and [explain]: pay
Creditors {J Surrender the property. CL No
nee “es , (J Retain the property and redeem it. OO ves
orepetty of . ) Retain the property and enter into a
securing debt: Reaffirmation Agreement.

CJ Retain the property and [explain]:

 

 

Creditors (LJ Surrender the property. LI No
name:

~ ene ees C) Retain the property and redeern it. L Yes
D . :
propery of L) Retain the property and enter into a |
securing debt: Reaffirmation Agreement. |

CL} Retain the property and [explain]:

 

 

 

Creditor’s C) Surrender the property. CL) No
name:

nn ee a et ae te tine nm feats ten I Retain the property and redeem it. U ves
BD ipti sf

propery 9 (C) Retain the property and enter into a

securing debt: Reaffirmation Agreement.

(} Retain the property and [explain]:

 

 
Case 19-50634 Doci13 _ Filed 05/30/19 Entered 05/30/19 16:06:49 Page 49 of 50

Your name Shirley S. Grimmett - Case number tf known) 19-50034
First Nema Middle Name Last Name

Era List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does nof assume it. 11 U.S.C. § 365(p}{2).

   

 

Describe your unexpired personal property leases Will the iease be
Lessors name: GM Financial Attn: CFO UI No
wee ee etuimstuemtniuatiins st sau wate nth Ln an oe Hd Yes

Description of leased
properly: auto Lease - 2017 Cadillac Escalade $936/month (12 more months)

Lessorsname: Ford Credit Attn: CFO LI No
_...._., Ford Credit Attn: CFO a ce a oe

 

Description of leased
operty:
properly See Attachment 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Lessor's name: ONo
Description of leased . 7 L] Yes
property: ‘
Lessor's name: . ONo
- - O Yes
Description of leased
property:
Lessors name: Li No
— sent ttn O Yes |
Description of leased
property:
Lessors name: ONe
— Le eee ee ee uu intnnnniiiii niin “it i sn Q ves
Description of leased
property:
Lessor's name: - LJ No
ett WEL See anette # tee abt std DD Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that i is subject to an unexpired lease.

 

 

   

 

     

Signature of Debtor 1 Signature of Debtor 2
pate D 20 gq Date
MMs DD YYYY MM/ DD? YYYY

OFicial Earn 1928 Ctatamant af lmtantinn far lacdiviaisale Cillian Plidas Mhantar F nema
Case 19-50634 Doc13 Filed 05/30/19 Entered 05/30/19 16:06:49 © Page 50 of 50.

Attachment
Debtor: Shirley S. Grimmett Case No: 19-50634

Attachment 1
Auto lease - co-signed for daughter
2017 Ford Escape $355/month (to March 2020)

 
